Case 5:19-cv-05025-TLB Document 67               Filed 09/14/20 Page 1 of 4 PageID #: 445




                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION


SEAN HARRISON, Individually and on                                            PLAINTIFF
Behalf of All Others Similarly Situated


vs.                               No. 5:19-cv-5025-TLB


HOG TAXI, LLC, MELISSA REYNOLDS                                             DEFENDANTS
and TIMOTHY REYNOLDS


            PLAINTIFF’S MOTION FOR COSTS AND ATTORNEYS’ FEES


      COMES NOW Plaintiff Sean Harrison (“Plaintiff”), individually and on behalf of all

others similarly situated, by and through his attorneys of Sanford Law Firm, PLLC, and

for his Motion for Costs and Attorneys’ Fees states as follows:

      1.     Plaintiff filed this case on February 07, 2019, pursuant to the Fair Labor

Standards Act, 29 U.S.C. § 201 et seq, and the Arkansas Minimum Wage Act, Ark.

Code Ann. § 11-4-201, et seq, to recover unpaid wages.

      2.     Following discovery, motion practice, a period for joining opt-in plaintiffs,

amended pleadings, and vigorous settlement negotiations, the parties entered into a

settlement agreement that reserved the issue of attorneys’ fees.

      3.     Despite negotiations, the parties were unable to agree upon a reasonable

amount of attorneys’ fees and costs. Accordingly, Plaintiff presents the Court with his

request for an award of these items.

      4.     The FLSA requires that in an action for unpaid minimum wages under the

Act, the Court “shall, in addition to any judgment awarded to the plaintiff or plaintiffs,


                                             Page 1 of 4
                           Sean Harrison, et al. v. Hog Taxi, LLC, et al.
                         U.S.D.C. (W.D. Ark.) Case No. 5:19-cv-5025-TLB
                         Plaintiff’s Motion for Costs and Attorneys’ Fees
Case 5:19-cv-05025-TLB Document 67               Filed 09/14/20 Page 2 of 4 PageID #: 446




allow a reasonable attorney's fee to be paid by the defendant, and costs of the action.”

29 U.S.C. § 216(b).

      5.     Similarly, the AMWA provides that a court may award costs and

reasonable attorneys’ fees against “[a]ny employer who pays any employee less than

the minimum wages, including overtime compensation . . . to which the employee is

entitled under or by virtue of [the AMWA].” Ark. Code Ann. § 11-4-218(a).

      6.     As explained in the briefing, a reasonable fee is the product of attorney

hours and the market rate of the attorneys. The Eighth Circuit has not asked this Court

to interpose its own opinion about what hourly rates for attorneys should be, but instead

has directed the district courts to determine, as best they can, what the market is saying

is the reasonable hourly rate for attorneys. See Estes v. Buell, Case No. 4:18-cv-00026-

KGB, Doc. No. 50 (E.D. Ark., Filed 5/25/2020) (identifying hourly rates awarded in

Arkansas district courts and the Eighth Circuit of $300.00, $350.00 and $400.00)

      7.     As shown on the Billing Spreadsheet attached hereto as Exhibit 1, Plaintiff

incurred $49,836.00 in attorneys’ fees through September 10, 2020, to successfully

litigate the claims. Plaintiff categorized and summarized billing by attorney and category

of work for the Court’s convenience in reviewing this request.

      8.     Further, Plaintiff’s counsel reviewed and edited the billing for charges that

might have been considered as excessive, redundant, or otherwise unnecessary or

appropriate for reduction. Through the exercise of billing judgment, Plaintiff’s counsel

identified $17,538.50 in fees that Plaintiff has chosen to exclude from the total amount

requested in this fee petition—not because the stated work was not performed, and not

because the work was not done efficiently. This self-auditing is done so that the Court

                                             Page 2 of 4
                           Sean Harrison, et al. v. Hog Taxi, LLC, et al.
                         U.S.D.C. (W.D. Ark.) Case No. 5:19-cv-5025-TLB
                         Plaintiff’s Motion for Costs and Attorneys’ Fees
Case 5:19-cv-05025-TLB Document 67                 Filed 09/14/20 Page 3 of 4 PageID #: 447




can grant this Motion as written, and without need for any further reductions of any kind.

Plaintiff has already reduced the invoice by more than enough.

       9.       After subtracting the fees described above, Plaintiff is requesting an award

of $32,297.50 in attorneys’ fees, based on a reduction in billable hours of 42.31%.

       10.      As shown in detail on Plaintiff’s Costs Invoice (Exhibit 3), Plaintiff also

incurred $1,454.90 in costs other than attorneys’ fees during litigation. Plaintiff is entitled

to these costs under the FLSA, 29 U.S.C. § 216(b), and under Rule 54(d).

       11.      Accordingly, Plaintiff requests a total award of costs and attorneys’ fees in

the amount of $33,752.40.

       12.      In support of this Motion, Plaintiff attaches hereto and incorporates herein

the following exhibits:

             Ex. 1     Billing Entries Spreadsheet Sorted by Date;
             Ex. 2     Declaration of Attorney Josh Sanford; and
             Ex. 5     Costs Invoice

       13.      This Motion is supported by a contemporaneous Memorandum Brief.

       WHEREFORE, Plaintiff respectfully requests that his Motion for Costs and

Attorneys’ Fees be granted in its entirety, that the Court award Plaintiff fees and costs in

the amount of $33,752.40 and for all other just and equitable relief to which Plaintiff may

be entitled.




                                               Page 3 of 4
                             Sean Harrison, et al. v. Hog Taxi, LLC, et al.
                           U.S.D.C. (W.D. Ark.) Case No. 5:19-cv-5025-TLB
                           Plaintiff’s Motion for Costs and Attorneys’ Fees
Case 5:19-cv-05025-TLB Document 67          Filed 09/14/20 Page 4 of 4 PageID #: 448




                                                Respectfully submitted,

                                                SEAN HARRISON, Individually
                                                and on Behalf of All Others
                                                Similarly Situated, PLAINTIFF

                                                SANFORD LAW FIRM, PLLC
                                                One Financial Center
                                                650 South Shackleford, Suite 411
                                                Little Rock, Arkansas 72211
                                                Telephone: (501) 221-0088
                                                Facsimile: (888) 787-2040

                                                Tess Bradford
                                                Ark. Bar No. 2017156
                                                tess@sanfordlawfirm.com

                                                Joshua West
                                                Ark. Bar No. 2012121
                                                west@sanfordlawfirm.com

                                                Josh Sanford
                                                Ark. Bar No. 2001037
                                                josh@sanfordlawfirm.com




                                        Page 4 of 4
                      Sean Harrison, et al. v. Hog Taxi, LLC, et al.
                    U.S.D.C. (W.D. Ark.) Case No. 5:19-cv-5025-TLB
                    Plaintiff’s Motion for Costs and Attorneys’ Fees
